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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                         )
                                                 )
               v.                                )   No.    1:21-cr-28-14 (APM)
                                                 )
JOSEPH HACKETT,                                  )
                                                 )
                           Defendant.            )

               GOVERNMENT’S OPPOSITION TO DEFENDANT’S
         MOTION FOR RECONSIDERATION OF CONDITIONS OF RELEASE

       Defendant Joseph Hackett should remain detained pending trial. Like his co-defendants

Kelly Meggs (as “Gator 1”) and Kenneth Harrelson (as “Gator 6”), Defendant Hackett (as “Ahab”)

was one of the leaders of the Florida group of Oath Keepers who organized and plotted with

coconspirators to stop the certification of the Electoral College vote, prepared to use violence if

necessary, and stormed the Capitol. Defendant Hackett is a danger to the community based on his

leadership role within the Oath Keepers, his provision of firearms to the Quick Reaction Force on

January 6, his subsequent access to multiple firearms, and his extensive efforts to conceal his

identity and his crimes.

       For these reasons, the Court should maintain the order that the defendant be detained

pending trial and deny the defendant’s motion (ECF 321).

I.     Background

       Video recorded on January 6, 2021, captured Defendant Hackett among a “stack” of more

than a dozen individuals dressed in camouflaged para-military gear moving in a deliberate and

organized manner toward the Capitol building. An additional recording shows the stack moments

later embedded near the front of a violent mob that is attempting to break open the doors of the

Capitol building. The video depicts the doors later opening and the subsequent flow of people into

the building, including Defendant Hackett and members of the stack. Cell phone and surveillance
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video taken inside of the Capitol Rotunda further show Defendant Hackett’s and his

coconspirators’ presence inside.

          Co-defendant Jessica Watkins characterized their insurgent effort to breach the Capitol

building as “forcing entry into the Capitol building” and said that it was “[f]orced. Like Rugby.”

On the evening of January 6, co-defendant Kelly Meggs wrote in a Signal chat, “Ok who gives a

damn who went in there…. We are now the enemy of the State.” An hour later, he continued: “We

aren’t quitting!! We are reloading!!”

          Based on his actions described above, on May 26, 2021, a grand jury issued a fourth

superseding indictment 1 charging Defendant Hackett with conspiracy, in violation of 18 U.S.C.

§ 371 (a felony); destruction of government property, in violation of 18 U.S.C. § 1361 (a felony);

obstruction of an official proceeding, in violation of 18 U.S.C. § 1512(c)(2) (a felony); and

entering a restricted building without lawful authority, in violation of 18 U.S.C. § 1752(a) (a

misdemeanor). This Court contemporaneously issued a warrant for Defendant Hackett’s arrest.

          Two days later, on May 28, 2021, the FBI arrested Defendant Hackett in the Middle District

of Florida. Pursuant to a warrant, the FBI also searched Defendant Hackett’s house.

          Later that day, Defendant Hackett had his initial appearance and detention hearing before

Magistrate Judge Sean P. Flynn, in case 8:21-MJ-01527-SPF (M.D. Fla.). On the government’s

motion, Judge Flynn ordered Defendant Hackett detained pending trial. 2




1
  On August 4, 2021, the grand jury issued a fifth superseding indictment, but the charges with
respect to Defendant Hackett remain the same.
2
    Judge Flynn’s detention order (ECF 9) is attached as Exhibit 1.
                                                  2
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          Judge Flynn found that the presumption of detention in Section 3142(e) applied, and that

evaluating the factors under Section 3142(g) led to the conclusion that Defendant Hackett would

be a danger to the community if released. (5/28/21 Tr. at 28-31.) 3

          On August 9, 2021, Defendant Hackett filed the instant motion.

II.       Legal Standard

          A.      Detention Hearing

          Defendant Hackett moved for revocation of Magistrate Judge Flynn’s detention order

under Section 3145(b). As the defendant indicates in his motion, the court’s review is de novo.

(ECF 321 at 2); see also United States v. Munchel, 991 F.3d 1273, 1280 & n.3 (D.C. Cir. 2021)

(noting that Chief Judge Howell conducted a de novo review of a release order under Section

3145(a), and that district courts have “broad discretion” to review magistrate judges’ detention

decisions) (citation omitted).

          Upon holding a detention hearing, the Court “shall order” a defendant detained if it “finds

that no condition or combination of conditions will reasonably assure the appearance of the person

as required and the safety of any other person and the community.” 18 U.S.C. § 3142(e). Here,

there are no conditions that could assure the latter; in other words, releasing the defendant would

present a “danger to the community.” United States v. Vasquez-Benitez, 919 F.3d 546, 550 (D.C.

Cir. 2019).

          “When the Government proves by clear and convincing evidence that an arrestee presents

an identified and articulable threat to an individual or the community,” the Supreme Court has

explained, “a court may disable the arrestee from executing that threat.” United States v. Salerno,

481 U.S. 739, 751 (1987). Notably, “the threat need not be of physical violence, and may extend



3
    The transcript of the detention hearing is attached as Exhibit 2.
                                                    3
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to ‘non-physical harms such as corrupting a union.’” Munchel, 991 F.3d at 1283 (quoting United

States v. King, 849 F.2d 485, 487 n.2 (11th Cir. 1988)). “In assessing whether pretrial detention

is warranted for dangerousness, the district court considers four statutory factors: (1) ‘the nature

and circumstances of the offense charged,’ (2) ‘the weight of the evidence against the person,’ (3)

‘the history and characteristics of the person,’ and (4) ‘the nature and seriousness of the danger to

any person or the community that would be posed by the person’s release.’” Id. at 1279 (quoting

18 U.S.C. § 3142(g)).

        At a detention hearing, the government may present evidence by way of a proffer. United

States v. Smith, 79 F.3d 1208, 1209-10 (D.C. Cir. 1996).

        B.      Application of Presumption and Factors To Be Considered

        Defendant Hackett appears to concede that a presumption of detention applies. (See ECF

321 at 5 (acknowledging a presumption of detention for co-defendant Watkins based on the same

charge of violating Section 1361).) The government submits that the subsection that provides the

rebuttal presumption is Section 3142(e)(3)(C), as Section 3142(f)(1)(A) – which Defendant

Hackett cites in his motion for this proposition (ECF 321 at 5) – provides the basis for a detention

hearing in the first place.

        The presumption arises if the offense – here, felony destruction of property under Section

1361 – is “listed in [S]ection 2332b(g)(5)(B)” and carries “a maximum term of imprisonment of

10 years or more.” The offense of felony destruction of property with which Defendant Hackett

has been indicted is listed in section 2332b(g)(5)(B) and carries a maximum term of imprisonment

of 10 years or more. Therefore, the offense of felony destruction of property gives rise to the

presumption of detention under Section 3142(e)(3)(C). Moreover, and as discussed further below,

the felony destruction of property in this case constitutes a “[f]ederal crime of terrorism” that was


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calculated to influence or affect the conduct of government by intimidation or coercion (and is

thus relevant to the detention decision under Section 3142(g)(1)).

         Here, the government is not relying on the strength of the evidence as to the Section 1361

violation to support Defendant Hackett’s detention. In fact, once the grand jury has found probable

cause that Defendant Hackett violated Section 1361 (felony) – and here, it has – then under the

guidance of United States v. Singleton, 182 F.3d 7, 12 (D.C. Cir. 1999), the government has

satisfied its burden under Section 3142(f) 4 to trigger a detention analysis under Section 3142(g).

III.     Argument

         Defendant Hackett cannot rebut the presumption of detention under Section 3142(e)(3)(C).

And the factors to be considered under Section 3142(g) support Defendant Hackett’s continued

detention.

         A.      Defendant Hackett’s Actions Show His Dangerousness.

         Defendant Hackett’s leadership role, actions on January 6, access to firearms (including

providing those firearms to the Quick Reaction Force on January 6), and efforts to conceal his

identity and destroy evidence all point his to continued dangerousness.

                 1.     Leadership

         According to a defendant who has pled guilty pursuant to a cooperation plea agreement

(and who will be referred to as D-1), Defendant Hackett was the “leader” of the Oath Keeper CPT 5

group of approximately five men from the Sarasota area. According to D-1, the organization’s

hierarchy had D-1 reporting to the CPT team leader (here, Hackett), who would report to the State

lead (here, Kelly Meggs).


4
    The same rationale would apply to the detention analysis under Section 3142(e)(3)(C).
5
  D-1 did not know what CPT stood for, but other Oath Keeper materials suggest it stood for
“community preparedness team.”
                                            5
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        Defendant Hackett’s vetting form for the Florida chapter of the Oath Keepers – which the

FBI located in his house when executing a search warrant – even shows him asking for a leadership

role:




        Defendant Hackett was of sufficient importance in the organization to be present for the

November 9, 2020, GoToMeeting with Person One and other Oath Keeper leaders, including

notably co-defendants Kelly Meggs, Harrelson, and Watkins. (Fifth Superseding Indictment (ECF

328) ¶ 39.) Defendant Hackett heard Person One make plans for the Oath Keepers in Washington,

D.C., on January 6, 2021, and exhort the assembled, “We’re going to defend the president, the

duly elected president, and we call on him to do what needs to be done to save our country.

Because if you don’t guys, you’re going to be in a bloody, bloody, civil war, and a bloody – you

can call it an insurrection or you can call it a war or fight.” (Id.)

        Finally, as explained more below, starting on December 19, 2020, Defendant Hackett was

an “organizer” and no longer simply an “attendee” of the GoToMeetings preparing to come to

Washington, D.C., including notably the “dc discussion and CPT teams” GoToMeeting that took

place on December 23.

                   2. Actions on January 6

        Hackett outfitted himself on January 6 with tactical gear, including a plate carrier and

helmet:




                                                   6
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Defendant Hackett (blue circle) ascended the stairs on the east side of the Capitol just behind co-

defendant Kelly Meggs (yellow circle), en route to linking up with co-defendant Harrelson (green

circle):




                                                7
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       Attached as Exhibit 3 is a compilation of Defendant Hackett’s movements within the

Capitol for the approximately 12 minutes he remained inside, as captured on surveillance video.

Notably, he spent most of his time with his co-conspirators Kelly Meggs, Moerschel, and

Harrelson. At around 2:45 p.m., Defendant Hackett left the Rotunda through the south door,

headed towards the House of Representatives (and the office of Speaker Pelosi). This photo (which

was later taken by the FBI as part of its investigation) shows the vantage point of a person in the

vestibule near where these defendants had congregated:




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Defendant Hackett was not visible on camera for approximately one minute. He then went to

check on the exterior doors through which the group entered, before returning to his co-

conspirators south of the Rotunda, near the Speaker’s office, where he remained, off camera, for

approximately 5 minutes. This is the area and the time that Kelly Meggs and Harrelson were

similarly not visible on surveillance video.

       The defendants’ actions with respect to Speaker Pelosi were alarming, as explained in the

government’s detention memos for Kelly Meggs and Harrelson (ECF 98 and 152) and at the

detention hearings for both co-defendants.     The government recently uncovered additional

evidence about the intent of Kelly Meggs and Connie Meggs (and by extension, their co-

conspirators): Very late on election night 2020, Kelly Meggs sent Connie Meggs the following

message:




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                  3. Firearms

        Defendant Hackett trained with firearms, brought firearms to the Washington, D.C., area

to have at the ready on January 6, and continued to store and hide firearms at his house at the time

of his arrest.

                       a.     Training with high-powered firearms

        In the fall of 2020, Defendant Hackett, wearing Oath Keepers garb, and along with co-

defendants Kelly Meggs, Connie Meggs, and Kenneth Harrelson, participated in a “gunfight

oriented training” with an AR-platform firearm. (See Gov’t Supp. Opp. to Defendants’ Renewed

Request for Release (ECF 106).) With these three co-defendants, Defendant Hackett attended

firearms training classes at this facility on at least September 20 and October 25, 2020.

        A September 21, 2020, Instagram post depicts Defendant Hackett with his co-conspirators

for one of those trainings:




                                                10
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                       b.     Providing weapons to the Quick Reaction Force

       According to a defendant who has pled guilty pursuant to a cooperation plea agreement

(and who will be referred to as D-4), Defendant Hackett was one of the members of the Oath

Keepers who deposited long guns at the Comfort Inn Ballston on January 5 and collected them on

January 7.

       Indeed, this still frame of surveillance video from the morning of January 7 shows

Defendant Hackett pushing a concierge cart containing at least one rifle case:




                       c.     Recovery of weapons at Defendant Hackett’s house

       During the execution of a search warrant at Defendant Hackett’s residence, the FBI located

seven long guns, including one AR-platform style firearm:




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       Elsewhere in the main part of the house, the FBI located a semi-automatic pistol and

multiple additional magazines and boxes of ammunition. And finally, hidden in a duffel bag in

the attic, the FBI located two additional semi-automatic pistols and hundreds of rounds of

ammunition:




                                             12
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                  4. Efforts at Concealment

       Defendant Hackett undertook some of the most advanced and sophisticated efforts to

conceal his identity and his actions in advance of January 6, during the attack on the Capitol, and

after January 6, including destroying evidence.

                      a.      Monikers

       Defendant Hackett used the name “John Willow” for his encrypted ProtonMail email

address, through which he conducted his Oath Keepers business. 6 He adopted the moniker “Ahab”

to login to GoToMeeting and Signal to communicate with other Oath Keeper members. And on

the morning of January 7, between 9:12 and 9:35 a.m., after he had stormed the Capitol the day

prior and retrieved his firearms earlier that morning, he logged onto Signal and changed his

username from “Ahab” to “Faith”:




6
 ProtonMail is a Swiss company that offers secure, encrypted email accounts. (Fifth Superseding
Indictment (ECF 328) ¶ 45.)
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                       b.     GoToMeeting / Virtual Private Network (VPN)

        When participating in GoToMeetings, Defendant Hackett used a VPN to obscure his

identity.

        Using the names “joe hackett” and “joe h” (before the election) and “ahab” (after the

election), Defendant Hackett attended more than 20 Oath Keeper-related GoToMeetings, with

meeting names like “ok florida,” “ok national call,” “ok intel call,” and “dc discussion and cpt

teams,” in the fall and winter of 2020:




        Tellingly, prior to the presidential election on November 3, 2020, Defendant Hackett often

logged in using his own name or the moniker “joe h.” But starting in December 2020, he never

logged in under his own name, and over the course of 16 meetings he always used the moniker

“ahab.” Moreover, starting in late December, Defendant Hackett transitioned from being an

“attendee” of these meetings to being an “organizer” of the meetings. In this way, he followed a

similar evolution as co-defendant Harrelson, transitioning from an attendee participating under his

true name to an organizer using a moniker as the date of January 6 approached.

        The records further show that, after the election, with only one exception, Defendant
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Hackett logged into the meeting from a VPN. A VPN would allow a user to obscure his participant

city and true IP address. On December 10, 2020, Defendant Hackett logged into a meeting with

his true IP address (registered in his wife’s name at his known address in Sarasota, Florida), but

quickly logged out and logged back in with a VPN – apparently realizing his error.

                      c.      Handwritten communications

       On December 19, 2020, Defendant Hackett, using his ProtonMail address, sent an email to

a co-conspirator, with a subject line “test.” The body of the email stated: “I believe we only need

to do this when important info is at hand like locations, identities, Ops planning.” The email had

a photo attached; the photo showed cursive handwriting on a lined notepad that stated: “Secure

Comms Test. Good talk tonight guys! Rally Point in Northern Port Charlotte at Grays if

transportation is possible. All proton mails. May consider an RP that won’t burn anyone. Comms

– work in progress. Messages in cursive to eliminate digital reads. Plans for recruitment and

meetings.”




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       During the execution of the search warrant at Defendant Hackett’s house, the FBI similarly

located a handwritten note about Oath Keepers vetting, with the apparent same cursive

handwriting, suggesting that Defendant Hackett often communicated in this method:




                      d.      Cell phone service / TextMe / Signal / burner phone

       Defendant Hackett used an app on his iPhone called TextMe to further obscure his identity,

and he had a flip phone (commonly referred to as a “burner” phone).

       In late 2020 and early 2021, Defendant Hackett regularly used an iPhone 6S with service

through AT&T. (While his carrier was AT&T, his account was actually with a third-party reseller

named TracFone.) He also had an app on his iPhone called TextMe. Using TextMe, a person can

place phone calls and send texts through the app rather than using the carrier’s network.

       The defendants here frequently communicated using Signal, an end-to-end encrypted

phone app. (Fifth Superseding Indictment (ECF 328) ¶ 38(k).) To use Signal, a person must have

an associated phone number. When accessing Signal, Defendant Hackett used his TextMe phone

number (ending in 2509) rather than his AT&T phone number (ending in 6396). In other words,

in addition to using a moniker on Signal (“ahab”), Defendant Hackett further obscured his identity

by associating his TextMe account rather than a true phone number. Further, Defendant Hackett’s



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TextMe account was not registered in his own name; it was simply registered with his “John

Willow” ProtonMail email address.

       Records suggest that Defendant Hackett deliberately turned off his iPhone – or, at a

minimum, disabled cellular and WiFi service – while he was at the Capitol. Indeed, according to

AT&T’s records, his phone’s first phone call on January 6 occurred at 6:27 p.m. and no text

messages were sent or received between 11:28 a.m. and 4:06 p.m. According to TextMe’s records,

he had no phone calls or text messages on January 6. While other members of the Florida Signal

chat were regularly posting on January 6, Defendant Hackett did not post at all.

       In other words, while Defendant Hackett had his phone with him at the Capitol – he is seen

on surveillance video holding it up to take a picture or video, and he admitted to D-4 that he had

recorded a video that he later deleted – he took substantial efforts to ensure that he would not be

linked to the phone, and that the phone would not be linked to the Capitol attack.

       Finally, when searching his house on May 28, 2021, the FBI located a Samsung flip phone

that appeared to be a “burner” phone.

                       e.     Physically shielding face

       Defendant Hackett was much more scrupulous than others about shielding his face (and

thus his identity). On January 6, his efforts far exceeded wearing a mask common for Covid

precautions: he wore a gaiter that covered his nose, mouth, and chin, and sunglasses that covered

his eyes. In the area of the Ellipse, Hackett also wore a baseball cap:




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And then on the steps of the Capitol, he had the same facial coverings, plus a helmet:




       His efforts at obfuscation on January 7 were similar, covering almost his entire face (and

now wearing a low baseball cap). This is Hackett exiting the elevator at the Comfort Inn Ballston

to collect the weapons:




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And then returning to the elevator, pushing the concierge cart with the weapons, still with his face

almost completely covered:




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       From the government’s review of the surveillance video and other videos and photos

outside and inside the Capitol, and the surveillance video from the hotel, Defendant Hackett

appears meticulous about not revealing his face to cameras.

                      f.      Deleting videos

       According to D-4, on January 7, 2021, while Defendant Hackett was in a car driving from

Washington, D.C., to Florida, with co-defendant Kelly Meggs and others, he admitted that he had

already deleted from his iPhone a video he had taken while inside the Capitol the prior day.

                      g.      Destroying physical evidence

       At the Capitol on January 6, as described above, Defendant Hackett was seen wearing a

black Oath Keepers t-shirt, a checkered gaiter, a plate carrier with a prominent “Oath Keepers”

logo, and a camouflaged helmet. Despite a thorough search, the FBI did not locate any of those

items at Defendant Hackett’s house, suggesting that he hid or destroyed the physical items to

prevent their recovery by the government.

       B.      The Section 3142(g) Factors Support Detention.

               1.     Nature and circumstances of the offense.

       This factor strongly supports detention, both because of the seriousness of the crimes for

which Defendant Hackett has been indicted and the fact that he has been indicted on a federal

crime of terrorism (Section 1361).

       To show that the offense is a “[f]ederal crime of terrorism” to be considered as part of the

“nature and circumstances of the offense” under Section 3142(g)(1), the government must meet

both of Section 2332b(g)(5)’s prongs: (A) purpose of offense and (B) enumeration of offense. The

conduct of Defendant Hackett and his coconspirators – invading and temporarily taking over the

national legislature while it was convening, pursuant to federal law, to formally count the ballots


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for the presidential election – was clearly “calculated to influence or affect the conduct of

government by intimidation or coercion” under Section 2332b(g)(5)(A). And because Section

1361 is enumerated in Section 2332b(g)(5)(B), the definition of “[f]ederal crime of terrorism” has

been satisfied.

                  2.   Weight of the evidence.

       The weight of the evidence favors detention. Defendant Hackett and his co-conspirators

are captured on surveillance video storming into the Capitol. Additionally, the government has

recovered firearms, email messages, Signal communications, and financial records and other

documents regarding Defendant Hackett’s actions. Finally, multiple co-conspirators have pled

guilty and provided information about Defendant Hackett (and other co-conspirators).

                  3.   History and characteristics of the person.

       This factor favors detention. The government acknowledges that Defendant Hackett is a

professional with no criminal history.      But his history in this case shows an important

characteristic: he hides his true identity and takes actions to obstruct justice, by destroying

evidence (both documentary evidence like the videos on his phone and physical evidence like the

clothes and gear he had on January 6).

       Other courts have held that a defendant’s “lack of trustworthiness” and destruction of

evidence support detention under Section 3142(f)(2). See, e.g., United States v. Djoko, No. CR19-

0146-JCC, 2019 WL 4849537, at *4 (W.D. Wash. Oct. 1, 2019) (holding that a defendant’s

“apparent willingness to destroy evidence and lie to authorities creates a serious risk that he may

attempt to obstruct justice in some other way”). Indeed, in United States v. Robertson, 608 F.

Supp. 2d 89, 92 (D.D.C. 2009), the court held that the defendants should be detained because their




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release “would pose an unreasonable risk of obstruction of justice,” based on their prior obstructive

conduct.

               4.      Seriousness of the danger to the community if released.

       This factor strongly favors detention.      In Munchel, the D.C. Circuit was clear that

defendants like Hackett – those “who aided, conspired with, planned, or coordinated” assaults on

officers or the attack on the Capitol – have a heightened level of dangerousness from other January

6 defendants. 991 F.3d at 1284; see also United States v. Hale-Cusanelli, 3 F.4th 449, 456 (D.C.

Cir. 2021) (“[W]e explained in Munchel that a person could be deemed a danger to the community

sufficient to justify detention even without posing a threat of committing violence in the future.”).

Indeed, the D.C. Circuit later cited this same language from Munchel to affirm detention decisions

for January 6 defendants in United States v. Sibick, 848 F. App’x 442, 442 (D.C. Cir. 2021) (per

curiam) (unpublished); United States v. Worrell, 848 F. App’x 5, 6 (D.C. Cir. 2021) (per curiam)

(unpublished); and United States v. Khater, No. 21-3033 (D.C. Cir. July 26, 2021) (per curiam)

(unpublished). 7

       In Khater, the D.C. Circuit noted that the defendant “contributed to the crowd’s ability to

breach the police line in front of the Capitol, and engaged in some level of prior planning and

coordination.” Slip Op. at 2 (internal citation omitted). The same is true here, as Defendant

Hackett (with his co-conspirators) contributed to the crowd’s ability to breach the east Rotunda

doors and push past officers, as well as engaged in extensive prior planning and coordination.

       In Worrell, the D.C. Circuit held that the “district court’s dangerousness determination was

[not] clearly erroneous,” based in part on the defendant’s “membership in and alleged coordination



7

https://www.cadc.uscourts.gov/internet/judgments.nsf/1D22490FE5567F8C8525871E00744687/
$file/21-3033-1907769.pdf
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with the Proud Boys, some of whose members have been indicted for conspiring to attack

Congress.” 848 F. App’x at 5-6. 8 The same heightened dangerousness applies here, as the actions

of self-proclaimed members of the Proud Boys and Oath Keepers are similarly situated in terms

of their dangerousness based both on their personal actions and their coordination with their co-

conspirators. And not only have 18 Oath Keeper members and affiliates (Defendant Hackett

included) been indicted in this case, but there is also evidence of coordination between the Oath

Keepers and the Proud Boys. (See Gov’t Opp to Kelly Meggs’ Motion for Pretrial Release (ECF

98) at 8 (quoting December 22, 2020, Facebook message: “we have made Contact with PB and

they always have a big group”)), and 10 (quoting December 25, 2020, Facebook message: “we

have orchestrated a plan with the proud boys. I have been communicating with [redacted] the

leader.”).)

IV.     CONCLUSION

        For all these reasons, the government submits that Defendant Hackett has not rebutted the

presumption under Section 3142(e)(3)(C) that he be detained pretrial, as there are no conditions

that will reasonably assure the safety of the community. Defendant Hackett’s motion should

therefore be denied.




8
  Indeed, even in a recent order overturning a detention decision for a January 6 defendant, the
D.C. Circuit noted that the defendant had “no ties to any extremist organizations.” United States
v. Tanios, No. 21-3034 (D.C. Cir. Aug. 9, 2021) (per curiam) (unpublished), at
https://www.cadc.uscourts.gov/internet/judgments.nsf/E216BF3BAA3450E58525872D000508D
3/$file/21-3034-1909636.pdf. The same cannot be said for Defendant Hackett.
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                       Respectfully submitted,

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